               Case 4:07-cr-40029-JPG                     Document 256 Filed 06/30/08                                Page 1 of 6       Page ID
% A 0 245B    (Rev. 06/05) Judgment in a Criminal Case              #697




                       SOUTHERN                                           District of                                     ILLINOIS

         UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                              v.
                ADOLPH B. PAULSON                                               Case Number:          4:07CR40029-01-JPG

                                                                                USM Number: 07341-025                              f'*
                                                                                                                                     *   .,
THE DEFENDANT:
                                                                                                                                                     I
@fpleaded guilty to count(s)           1 of the Indictment                                                                                       "

   pleaded nolo contendere to count(s)
   which was accepted by the court.                                                                                                    'c'& -w&'
                                                                                                                                              wo/a
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                                   Offense Ended              Count
21 ~.$.6.&8
    -. _
                   ,          -.   n                     fii%A$e~bv
                                                           ,      wml!n&t tp
                                                                    d a                                   a      A   :- PB~WO'N
                                                                                                                             : ::        t      3- ~      $
                                    Distribute Marihuana



       The defendant is sentenced as provided in pages 2 through                       10       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                    is            are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unjted States attoqey for this district within 30 da s of any change of name, residence,
or mailing address until.al1fmes, restihlhon,costs, and special assessmeqts imposed by this judgment are fury paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econormc circumstances.


                                                                                Date of Imposition of Judgment



                                                                                Signature of P g e




                                                                                 J. Phil Gilbert
                                                                                Name of Judge



                                                                                Date    //
                                                                                                                 a,      -      District Judge
                                                                                                                               Title of Judge
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A 0 245B      (Rev. 06/05) Judgment in Criminal Case              #698
              Sheet 2 - Imprisonment
                                                                                                         Judgment - Page    2   of   10
DEFENDANT: ADOLPH B. PAULSON
CASE NUMBER: 4:07CR40029-01-JPG


                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  170 months on Count 1 of the Indictment. (The court sentences the defendant to 174 months, but gives him 4 months credit
  for time serve on a state related case 02CF1.


     @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant participate in the Intensive Drug Treatment Program



     @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           Cl before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

at                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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                                                                   #699
A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                             Judgment-Page       3     of       10
DEFENDANT: ADOLPH B. PAULSON
CASE NUMBER: 4:07CR40029-01-JPG
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 years on Count 1 of the Indictment



     The defendant must report to the probation office in the district to whch the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 &!f The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
                          t s of t h ~judgment.
 Schedule o j ~ a ~ m e nsheet        s
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any adhtional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial dlstrict without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a e n i s t e r any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probahon officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notify ,thirdparties of risks that may be occasioned by fhe defendant's criminal
           record or person3 history or character~sbcsand shall pemut the probahon officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release
                                                                #700
                                                                                            Judgment-Page    4    of      10
DEFENDANT: ADOLPH B. PAULSON
CASE NUMBER: 4:07CR40029-01-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater over a period of 60 months, to commence 30 days after
 release from imprisonment to a term of supervision.

 X The defendant shall provide the probation officer and the financial litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicted monies.

 X Based upon the defendant's history of drug and alcohol possession, the Court is exercising its discretion by ordering that
 the defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility, or residential reentry center. The number of drug tests
 shall not exceed 52 tests in a one year period. Any participation will require complete abstinence from all alcoholic
 beverages. The defendant shall pay for the costs associated with substance abuse counseling and/ or testing based on a
 copay sliding fee scale as directed and approved by the United States probation Office. Copay shall never exceed the
 total costs of counseling.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall participate in a Gambling Addiction Program as directed by probation

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
A 0 245B
                               Case 4:07-cr-40029-JPG
                       (Rev. 06/05)Judgment in a Criminal Case
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                       Sheet 5 - Criminal M 0 n e t a ~Penalties                                          #701
                                                                                                                                                                                                   Judgment-Page                                    5                of                       10
DEFENDANT: ADOLPH 6. PAULSON
CASE NUMBER: 4:07CR40029-01-JPG
                                                                                 CRIMINAL MONETARY PENALTIES
               The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                          Assessment                                                                    -
                                                                                                                        Fine                                                                                           Restitution
TOTALS                                  $ 100.00                                                                  $ 200.00                                                                                  $ 0.00


0 The determination of restitution is deferred until                                                          . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
               after such determination.

               The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

               If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise fi
               the priority order or percentage payment columngelow. However, pursuant to 18 Qs.8. § 36640, all nonfederal victims must be p a ~ d
               before the United States is paid.

Name of Pavee                                                                                                                 Total*                                              Restitution Ordered Prioritv or Percentape
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TOTALS                                                 $                                               0.00                       $                                                           0.00


               Restitution amount ordered pursuant to plea agreement $

               The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
               fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
               to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

               The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               # the interest requirement is waived for the                                           [a' fine                    restitution.
                       the interest requirement for the                                       fine      [7 restitution is modified as follows:



* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
A 0 245B
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Qf Lump sum payment o f $                              due immediately, balance due

           IJ    not later than                                 ,Or
                 in accordance                C,      0 D,        E, or     @fF below; or
B          Payment to begin immediately (may be combined with             [7 C,        D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @f Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per
           month or ten percent of his net monthly income, whichever is greater over a period of 60 months, to commence 30
           days after release from imprisonment to a term of supervision.


Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminalmonetary penalties is due durin
unpriso-t.       All criminaYmoneta penalties, except those payments made througR g ~ e d e r a Bureau
                                                                                                    l     of Prisonsy Inmate ~ i n a n c i i
Responsibil~tyProgram, are made t o x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

@f The defendant shall forfeit the defendant's interest in the following property to the United States:
       See attached order



                                                        1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
